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                                                                       United States District Court
                                                                         Southern District of Texas

                                                                            ENTERED
                                                                           March 31, 2023
                                                                         Nathan Ochsner, Clerk

                    UNITED STATES DISTRICT COURT
                     SOUTHERN DISTRICT OF TEXAS
                         HOUSTON DIVISION

         CLINGMAN &           § CIVIL ACTION NO
         HANGER               § 4:21-cv-02698
         MANAGEMENT           §
         ASSOCIATES LLC,      §
                     Plaintiff,
                              §
                              §
                              §
           vs.                § JUDGE CHARLES ESKRIDGE
                              §
                              §
         KAY RIECK, et al,    §
                  Defendants. §

                          OPINION AND ORDER
                         ON MOTIONS TO DISMISS

            Furie Operating Alaska LLC is a natural gas company
        and wholly owned subsidiary of Cornucopia Oil & Gas Co
        LLC. It began drilling in the Kitchen Lights Unit of Alaska
        in 2011 and discovered commercial quantities of gas in
        2013. On the basis of this discovery, Furie represented that
        hundreds of billions of cubic feet of gas and millions of
        barrels of oil would be produced. It attracted investment of
        over $160 million and built out the initial infrastructure
        required. But Furie eventually spent $175 million more
        than budgeted and failed to discover additional gas
        reserves in line with earlier estimates.
            Defendant Kay Rieck was the de facto head of Furie.
        This suit largely concerns an alleged scheme by him and
        other executives and advising attorneys to divert value to
        themselves through various insider transactions. Furie is
        alleged to have, among other things, chartered a drilling
        rig at inflated prices through insider-controlled entities;
        sold gas at a loss to Rieck-owned entities; compromised tax
        credits already pledged as collateral on its loans by
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        allowing another Rieck-controlled entity to use them to
        secure a bond offering; transferred other tax credits to
        Rieck-owned entities without consideration; and
        artificially inflated the “proved” gas reserves of Furie so
        that managers could continue to draw compensation while
        looting the company. Creditors eventually forced Rieck to
        cede control to outside management, with bankruptcy
        proceedings commencing in August 2019.
            Plaintiff Clingman & Hanger Management Associates
        LLC is the trustee of the litigation trust established
        through the plan of reorganization. It brought claims
        against (i) Kay Reick, Lars Degenhardt, Thomas E. Hord,
        and David W Elder, who managed Furie and allegedly
        controlled non-party entities that siphoned money from
        Furie; (ii) Theodor van Stephoudt, David Hyrck, and Reed
        Smith LLP, who represented and performed legal work for
        Rieck-controlled entities; (iv) Michael A. Nunes, who was
        Furie’s general counsel and represented Rieck personally,
        and Stone Pigman Walther Wittmann LLC and Cogan &
        Partners, who were the law firms that employed him; (v)
        Bruce Ganer, who served as Furie’s internal geologist, and
        who owned Sierra Pine Resources International Inc, the
        company which issued the reserve reports used to secure
        funding for Furie; and (vi) Helena Energy LLC, which
        shared executives with Furie and is alleged to have
        received gas from Furie without fair purchase or price.
            The pleaded claims include fraudulent transfer,
        breaches of various fiduciary duties (along with related
        claims for aiding and abetting and civil conspiracy), and
        unjust enrichment. Through a number of motions,
        Defendants seek dismissal of this action in its entirety for
        failure to state a claim pursuant to Rule 12(b)(6) of the
        Federal Rules of Civil Procedure. See Dkts 46, 57, 63, 64,
        65, 75 & 169. Another motion seeks summary judgment
        pursuant to Rule 56. See Dkt 157 (renewing motion for
        summary judgment at Dkt 53).
            These motions are granted in part and denied in part.
            As to fraudulent transfer, the motions are granted to
        the extent that such claims relate to the Furie bankruptcy



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        estate, which are barred by limitations—but not as to the
        bankruptcy estate of Cornucopia.
             As to breach of fiduciary duty against Rieck, Hord,
        Nunes, van Stephoudt, Degenhardt, Elder, and Ganer, as
        named executive or de facto officers, the motions are
        granted to the extent such claims rely on fiduciary duties
        of Furie officers, which are exculpated by the fourth
        amended LLC agreement—but not as to any such duties of
        Cornucopia officers. The related claims for aiding and
        abetting and civil conspiracy are resolved in similar accord.
             As to breach of fiduciary duty against Reed Smith,
        Hryck, and Nunes, in their capacities as attorneys, the
        motions are denied.
             As to breach of fiduciary duty against Stone Pigman,
        the motion is granted because the claim isn’t sufficiently
        pleaded and is time barred.
             As to unjust enrichment against Helena Energy, the
        motion is granted to the extent the claim seeks to recover
        against Helena Energy for gas sold through Aurora Gas—
        but is otherwise denied.
             As to the assertion of exemplary damages and attorney
        fees as stand-alone claims, the motion is granted—but such
        may be pursued as remedies where permitted by law.
             The extent to which repleading will be allowed as to
        any dismissed claims is explained elsewhere below.




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                1. Background
            Furie Operating Alaska LLC is an oil and natural gas
        company that operated in Alaska from 2011 to at least
        2019. It was a Texas LLC from its inception until it
        converted into a Delaware LLC in January 2018. Furie
        pursued its business as a wholly owned subsidiary of
        Cornucopia Oil and Gas LLC. See Dkt 155 at ¶¶ 1, 6, 32
        & 42–54; see also Dkt 157-1 at 284–293 (third amended
        operating agreement).
            This action arises out of their sequentially filed
        Chapter 11 bankruptcy proceeding in August 2019. See
        In re Furie Operating Alaska LLC, Civil Action No 19-cv-
        11781 (Bankr Del) (further referred to as Furie Operating);
        In re Cornucopia Oil & Gas Company LLC, Civil Action
        No 19-11782 (Bankr Del) (further referred to as
        Cornucopia Oil & Gas). The allegations of the live
        complaint largely concern and are directed towards Furie.
        Specifics as to Cornucopia are noted where necessary.
                    a. The parties
            Plaintiff Clingman & Hanger Management Associates
        LLC is the trustee of a litigation trust established by the
        joint plan of reorganization for the Furie Operating and
        Cornucopia bankruptcy proceedings. Dkt 155 at ¶ 4; see
        also Furie Operating, Dkts 830 at 40–42 & 835-1. The
        Trustee brought this action against twelve persons and
        entities, seeking to recoup multimillion dollar losses
        sustained by Furie that were allegedly caused by the
        malfeasance of certain executives.
            Defendant Kay Rieck is a German national who
        allegedly controlled non-parties Deutsche Oel und Gas SA
        (a Luxembourgian corporation) and Deutsche Oel und Gas
        AG (a now-dissolved German corporation). DOGSA
        putatively owned the now-defunct DOGAG, which was the
        parent company of Brutus AG (another German
        corporation), which in turn was the sole owner of
        Cornucopia. Dkt 155 at ¶ 7. The Trustee contends that
        Rieck acted as the de facto head of Furie; served as one of




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        three managers on the Furie board from late 2017 until he
        ceded control to creditors in 2018; and allegedly controlled
        or owned several other entities that siphoned money from
        Furie. Id at ¶¶ 8, 57. The Trustee asserts claims against
        him for breach of fiduciary duty, actual fraudulent
        transfer, constructive fraudulent transfer, insider
        fraudulent transfer, civil conspiracy, exemplary damages,
        and attorney fees.
            Defendant Lars Degenhardt is a German national who
        served as the president of Furie from September 2014 to
        June 2017, while simultaneously serving as the chief
        financial officer of DOGSA. Id at ¶ 10. The Trustee asserts
        claims against him for breach of fiduciary duty, civil
        conspiracy, exemplary damages, and attorney fees.
        Degenhardt has yet to appear.
            Defendant Thomas E. Hord served as the chief
        operating officer of Furie; owned Tom Hord Management
        Services LLC; and acted as chief executive officer of
        Advanced Drilling Solutions LLC, a company purportedly
        established to siphon funds from Furie. Id at ¶¶ 18, 65
        & 76. He also owned a twenty percent stake in Offshore
        Drilling Solutions Ltd and later acquired a twenty percent
        stake in Offshore Management Holdings LLC, which
        served as the sole member and manager of Advanced
        Drilling. Id at ¶¶ 59 & 84. The Trustee asserts claims
        against Hord for breach of fiduciary duty, actual fraudulent
        transfer, constructive fraudulent transfer, insider
        fraudulent transfer, civil conspiracy, exemplary damages,
        and attorney fees.
            Defendant David W. Elder is a Texas resident who
        acted as the chief financial officer of Furie. He also
        managed several other Rieck-related entities, including
        Furie Drilling LLC, Furie Operating LLC, Furie Petroleum
        Company LLC, and Advanced Capital Funding LLC. Id
        at ¶ 23 & 39. The Trustee asserts claims against Elder for
        breach of fiduciary duty, actual fraudulent transfer,
        constructive fraudulent transfer, insider fraudulent
        transfer, civil conspiracy, exemplary damages, and
        attorney fees.




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            Defendant Theodor van Stephoudt served as president
        of Furie from June 2017 to March 2018. He was also
        employed as an economist by Defendant Reed Smith LLP,
        where he handled tax matters for Furie, Rieck, DOGSA,
        and other Rieck-controlled entities. Id at ¶¶ 12, 35–36, 75,
        121 & 131. The Trustee asserts claims against van
        Stephoudt for breach of fiduciary duty, actual fraudulent
        transfer, constructive fraudulent transfer, insider
        fraudulent transfer, civil conspiracy, exemplary damages,
        and attorney fees.
            Defendant David Hryck is an attorney and former
        engagement partner at Reed Smith. Id at ¶ 16. He was
        given power of attorney for Furie in early March 2016 to
        respond to IRS document requests. Dkt 118 at 12. He also
        served as trustee of a trust that owned a majority stake in
        Offshore Management Holdings beginning in early 2016.
        Hryck also allegedly “represented and performed work for”
        numerous other entities “owned and controlled by Rieck.”
        Dkt 155 ¶ at 35; see generally id at ¶¶ 35, 76 & 81–85. The
        Trustee asserts claims against him for breach of fiduciary
        duty, actual fraudulent transfer, constructive fraudulent
        transfer, civil conspiracy, exemplary damages, and
        attorney fees.
            Defendant Reed Smith is a Delaware limited liability
        partnership that employed van Stephoudt and Hryck. It
        received compensation for work they performed for Furie
        and numerous other Rieck-related entities. Id at ¶¶ 12, 16,
        34–36 & 121. The Trustee asserts claims against Reed
        Smith for breach of fiduciary duty, actual fraudulent
        transfer, constructive fraudulent transfer, civil conspiracy,
        exemplary damages, and attorney fees.
            Defendant Michael A. Nunes served as outside general
        counsel to Furie “under agreements pursuant to which he
        was partially seconded”—first by non-party Cogan &
        Partners LLP, and then by Defendant Stone Pigman
        Walther Wittmann LLC. Id at ¶¶ 20 & 38. Nunes also
        represented Rieck personally and acted as the engagement
        partner for Stone Pigman’s representation of Furie, Rieck,
        DOGSA, DOGAG, Advanced Drilling, and other Rieck-




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        related entities. Id at ¶¶ 37–38. He was named as the
        member and manager for Advanced Drilling and later
        received a minority stake in Offshore Management. Id
        at ¶¶ 64 & 84. The Trustee asserts claims against Nunes
        for breach of fiduciary duty, actual fraudulent transfer,
        constructive fraudulent transfer, insider fraudulent
        transfer, civil conspiracy, exemplary damages, and
        attorney fees.
            Defendant Stone Pigman Walther Wittmann LLC is a
        Louisiana law firm that employed Nunes. The Trustee
        contends that Stone Pigman is a successor by merger to
        Cogan & Partners LLP. Id at ¶¶ 20, 22 & 148–166. It
        asserts claims against Stone Pigman for breach of fiduciary
        duty, actual fraudulent transfer, constructive fraudulent
        transfer, successor liability by merger, and successor
        liability by estoppel, along with a fraudulent-transfer claim
        as between Cogan & Partners and Stone Pigman.
            Defendant Bruce Ganer owns and manages Defendant
        Sierra Pine Resources International Inc. He served as
        internal geologist at Furie and as chief technical adviser to
        Rieck. Ganer and/or his wholly owned companies also acted
        as operator and attorney-in-fact for Helena Energy LLC, a
        Reick-owned entity that’s also a defendant in this action.
        Id at ¶¶ 25 & 41. The Trustee asserts claims against Ganer
        for breach of fiduciary duty, aiding and abetting breach of
        fiduciary duty, actual fraudulent transfer, constructive
        fraudulent transfer, insider fraudulent transfer, civil
        conspiracy, exemplary damages, and attorney fees.
            Defendant Sierra Pine Resources International Inc is a
        corporation established under Texas law and owned by
        Ganer. The company derived the majority of its income
        from projects related to Rieck and Rieck-controlled entities.
        Particularly pertinent here, it issued multiple reserve
        reports used to secure funding for Furie. Id at ¶¶ 25, 27
        & 41. The Trustee asserts claims against Sierra Pine for
        aiding and abetting breach of fiduciary duty, actual
        fraudulent transfer, constructive fraudulent transfer, civil
        conspiracy, exemplary damages, and attorney fees.




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             Defendant Helena Energy LLC is a limited liability
        company established under the laws of Delaware and
        owned by Rieck. It was purportedly “founded as a natural
        gas marketing arm to Furie,” but it has been “engaged in
        oil production in Southwest Texas” since 2016. Id at ¶ 28.
        The Trustee contends that Helena Energy shared
        executives, office staff, and office space with Furie. And it
        allegedly received gas from Furie, first through the now-
        defunct Rieck-controlled Aurora Gas LLC in 2016, and
        then directly in 2017. Id at ¶¶ 94–95. The Trustee asserts
        a claim against Helena Energy for unjust enrichment.
                     b. The alleged scheme
             Furie leased gas drilling rights in the Kitchen Lights
        Unit of Alaska, where it began drilling in Summer 2011.
        Two years later, it discovered commercial quantities of gas.
        An initial report issued in August 2013 by Netherland
        Sewell & Associates Inc estimated that there were 59.4
        billion cubic feet in proved, undeveloped gas reserves with
        a net present value of $54 million. A report by Sierra Pine
        the next month, in September 2013, then substantially
        exceeded this amount, estimating that there were 276.3 bcf
        in proved, undeveloped gas reserves with a net present
        value of $315 million. There later followed a second report
        issued by NSAI in February 2014, again finding an
        estimated 59.5 bcf with a net present value of $121 million.
        And a draft report created by DeGolyer and MacNaughton
        in March 2014 estimated 59 bcf in proved, undeveloped gas
        reserves. Dkt 155 at ¶¶ 42–50.
             Energy Capital Partners agreed to loan Furie $160
        million to build necessary infrastructure. But Furie spent
        $175 million more than budgeted, necessitating additional
        loans from ECP and ING Bank. These loans were
        collateralized by projected tax credit receipts from Alaska.
        Furie subsequently experienced greater than expected
        operational costs. And it failed to discover additional gas
        reserves. Id at ¶¶ 51–55.
             The Trustee contends, “Furie’s insiders responded to
        these issues, not by operating the company in a manner
        designed to maximize value for the benefit of the company,



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        but rather, by diverting value to themselves through
        insider transactions.” Id at ¶ 56. The various schemes
        allegedly implemented by Defendants are briefly as
        follows.
             The Randolph Yost rig charter. Defendants allegedly
        chartered the Randolph Yost rig through a series of
        insider-controlled entities, none of which were “previously
        known or recognized in the industry.” Id at ¶ 72.
        Specifically, Offshore Drilling Solutions—which was
        putatively owned by Reinhardt Martin Schuster, but was
        actually controlled by Rieck—chartered the rig from Shelf
        Drilling Offshore Resources Limited II for $20,000 per day.
        Offshore Drilling Solutions then assigned its rights and
        obligations to its wholly owned subsidiary, Kadmas
        Limited, which in turn paid Advanced Drilling $55,000 per
        day to manage the rig. Kadmas also sub-chartered the rig
        to Nordic Overseas Drilling & Services, which was
        putatively owned by Andreas Sasdi—but again was
        actually controlled by Rieck. Nordic then chartered the rig
        to Furie for $220,000 per day. As Elder admitted, these
        transactions “created a complicated and expensive series of
        contractual relationships, which appeared to be
        detrimental to Furie, and beneficial to Rieck, Hord and
        Nunes.” Id at ¶ 72; see generally id at ¶¶ 59–72.
             Rieck, Elder, Degenhardt, Hord, Nunes, and Hryck all
        allegedly knew the transactions related to the Randolph
        Yost were disloyal. And they “took steps to try to hide
        them.” Id at ¶ 81. For example, one of Rieck’s attorneys
        sent Furie a note verifying that Offshore Drilling Solutions,
        Kadmas, Nordic, and Furie were all “independent and
        unrelated companies.” Id at ¶ 82. Nunes, Rieck, Hryck,
        Hord, and Degenhardt collaborated in another instance to
        create Offshore Management Holdings, which replaced
        Nunes as the sole member and manager of Advanced
        Drilling. That allowed Elder to avoid reporting Advanced
        Drilling as an affiliate or related party to Furie or Rieck.
        See generally id at ¶¶ 81–84.
             Gas sale agreements. Furie entered into a gas sales
        agreement with Aurora Gas in March 2016. As noted




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        above, Aurora Gas was owned by Rieck and managed by
        him and Bruce Webb, who was Furie’s senior vice
        president. Aurora Gas in turn sold the gas to Helena
        Energy. After Aurora Gas was forced into bankruptcy in
        May 2016, Furie continued to provide gas to Aurora Gas,
        resulting in a $900,000 loss to Furie because the sales were
        “uncollectible.” Id at ¶ 91. Later that year, Furie began
        selling gas directly to Helena Energy. But “Furie’s records
        do not reflect any payment received by Furie for said gas.”
        Id at ¶ 95; see generally id at ¶¶ 89–95.
             Tax credit transfers. Despite Furie having pledged its
        Alaska tax credits as collateral for its loans, DOGSA
        allegedly made a $170 million bond offering secured by a
        “global security right over all Tax Credits granted by
        [Furie].” Id at ¶ 96. Van Stephoudt purportedly validated
        the underlying tax credit collateral. Furie received no
        proceeds from the bond offering. Furie also allegedly
        transferred $18.4 million in tax credits without any
        consideration to a Rieck-controlled German bank named
        Internationale Aktien Und Rohstoff Ivest GmbH. See
        generally id at ¶¶ 96–101.
             Reserve valuation inflation. The Trustee alleges that
        Defendants engaged in a scheme to inflate the value of
        Furie’s reserves. Specifically, it asserts, “Defendants began
        manipulating and concealing the data passed to NSAI,
        including with respect to underlying pay maps, upon which
        NSAI’s reserve reports were premised.” Id at ¶ 113. As
        internal geologist at Furie and chief technical adviser to
        Rieck, Ganer played a significant role in this arrangement.
        For instance, he purportedly caused gas pay maps to
        inaccurately reflect Furie’s expected reserves, added
        seismic data to pay maps, and purposefully under-
        estimated or omitted annual costs included in financial
        projections. Additionally, in March 2016, Nunes and
        Slaughter—with input from Elder and approval by Rieck
        and Degenhardt—negotiated and entered a gas supply
        agreement with Enstar Natural Gas Company. Defendants
        knew that such a contract carried significant mid- and
        long-term risks. But the contract allowed them to sustain




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        Furie’s inflated future revenue projections. See generally
        id at ¶¶ 41, 115, 119, 125–29 & 135–42.
                    c. Furie bankruptcy and this litigation
            Creditors forced Rieck to cede control of Furie to
        outside management firm Ankura Consulting Group LLC
        in 2018. Dkt 155 at ¶ 143. Both Furie and Cornucopia
        voluntarily filed for bankruptcy on August 9, 2019. See
        Furie Operating, Dkt 1; Cornucopia Oil, Dkt 1. Those
        bankruptcies were jointly administered, and the
        bankruptcy court entered a joint plan of reorganization on
        June 12, 2020. Furie Operating, Dkt 835-1. The approved
        plan established a litigation trust that consolidated all
        causes of action against Defendants. Id, Dkt 830 at 44–51.
            The Trustee brought this action in Texas state court on
        August 6, 2021. Dkt 1-4. It was promptly removed to this
        Court. Dkt 1. Defendants subsequently brought a variety
        of dispositive motions. Motions to dismiss for failure to
        state a claim are pending from Helena Energy LLC
        (Dkt 46), Bruce Ganer and Sierra Pine (Dkt 57),
        Reed Smith LLP (Dkt 63), David Hyrck (Dkt 64), Theodor
        van Stephoudt (Dkt 65), Michael Nunes (Dkt 75), and
        Stone Pigman Walther Wittmann LLC (Dkt 169). Also
        pending is a motion by Thomas Hord styled as one for
        summary judgment (Dkt 157, and re-urging the motion at
        Dkt 53).
            Argument was heard on all of these motions over the
        course of two days. See Dkts 186 & 187.
                2. Legal standard
            Seven of the eight pending motions seek to dismiss
        certain causes of action for failure to state a claim.
        Rule 8(a)(2) of the Federal Rules of Civil Procedure
        requires a plaintiff’s complaint to provide “a short and
        plain statement of the claim showing that the pleader is
        entitled to relief.” Rule 12(b)(6) allows the defendant to
        seek dismissal if the plaintiff fails “to state a claim upon
        which relief can be granted.”
            Read together, the Supreme Court holds that Rule 8
        “does not require ‘detailed factual allegations,’ but it




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        demands more than an unadorned, the-defendant-
        unlawfully-harmed-me accusation.” Ashcroft v Iqbal, 556
        US 662, 678 (2009), quoting Bell Atlantic Corp v Twombly,
        550 US 544, 555 (2007). To survive a Rule 12(b)(6) motion
        to dismiss, the complaint “must provide the plaintiff’s
        grounds for entitlement to relief—including factual
        allegations that when assumed to be true ‘raise a right to
        relief above the speculative level.’” Cuvillier v Taylor,
        503 F3d 397, 401 (5th Cir 2007), quoting Twombly, 550 US
        at 555.
             A complaint must therefore contain “enough facts to
        state a claim to relief that is plausible on its face.”
        Twombly, 550 US at 570. “A claim has facial plausibility
        when the plaintiff pleads factual content that allows the
        court to draw the reasonable inference that the defendant
        is liable for the misconduct alleged.” Iqbal, 556 US at 678,
        citing Twombly, 550 US at 556. This standard on
        plausibility is “not akin to a ‘probability requirement,’ but
        it asks for more than a sheer possibility that a defendant
        has acted unlawfully.” Id at 678, quoting Twombly, 550 US
        at 557.
             Review on motion to dismiss under Rule 12(b)(6) is
        constrained. The reviewing court “must accept all well-
        pleaded facts as true and view them in the light most
        favorable to the plaintiff.” Walker v Beaumont Independent
        School District, 938 F3d 724, 735 (5th Cir 2019). But
        “courts ‘do not accept as true conclusory allegations,
        unwarranted factual inferences, or legal conclusions.’”
        Vouchides v Houston Community College System, 2011 WL
        4592057, *5 (SD Tex), quoting Gentiello v Rege, 627 F3d
        540, 544 (5th Cir 2010). The court must also generally limit
        itself to the contents of the pleadings and attachments
        thereto. Brand Coupon Network LLC v Catalina Marketing
        Corp, 748 F3d 631, 635 (5th Cir 2014).
             The eighth motion—by Hord—seeks summary
        judgment under Rule 56(a) of the Federal Rules of Civil
        Procedure. Dkt 157 at 2. This requires a court to enter
        summary judgment when the movant establishes that
        “there is no genuine dispute as to any material fact and the




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        movant is entitled to judgment as a matter of law.”
        Disputed factual issues must be resolved in favor of the
        nonmoving party, with all reasonable inferences drawn in
        the light most favorable to the nonmoving party. Little v
        Liquid Air Corp, 37 F3d 1069, 1075 (5th Cir 1994);
        Connors v Graves, 538 F3d 373, 376 (5th Cir 2008). But of
        note here, all of these motions proceed in the early stages
        of this litigation with discovery ongoing. Hord’s motion will
        thus be considered only the Rule 12(b)(6) standards—
        where allegations in the complaint are assumed as true.
        Resolution in such fashion is without prejudice to
        reassertion of similar arguments under Rule 56, if possible,
        in good faith after discovery closes.
             For any claims subject to dismissal under Rule 12,
        Rule 15(a)(2) states that a district court “should freely give
        leave [to amend] when justice so requires.” The Fifth
        Circuit holds that this “evinces a bias in favor of granting
        leave to amend.” Carroll v Fort James Corp, 470 F3d 1171,
        1175 (5th Cir 2006) (cleaned up). But the decision whether
        to grant leave to amend is within the sound discretion of
        the district court. Pervasive Software Inc v Lexware
        GmbH & Co KG, 688 F3d 214, 232 (5th Cir 2012). It “may
        be denied when it would cause undue delay, be the result
        of bad faith, represent the repeated failure to cure previous
        amendments, create undue prejudice, or be futile.”
        Morgan v Chapman, 969 F3d 238, 248 (5th Cir 2020).
                  3. Analysis
             Many arguments asserted by Defendants overlap.
        What’s more, the disposition of certain arguments by some
        Defendants affects claims brought against others, even
        where those other Defendants didn’t directly raise such
        issues. For that reason, the following sections first broadly
        address dispositive arguments, followed by specific
        application to individual defendants where necessary.
             In sum:
                  o All claims for fraudulent transfer under §§ 544
                      and 548 of Title 11 are barred by limitations to




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                     the extent that they relate to the bankruptcy
                     estate Furie—but not as to that of Cornucopia;
                 o Claims for breach of fiduciary duty are barred
                     by the fourth amended LLC agreement to the
                     extent such claims rely on exculpated fiduciary
                     duties of Furie officers—but not as to any such
                     duties of Cornucopia officers;
                 o Likewise precluded are claims in that regard
                     for aiding and abetting and for civil conspiracy
                     to the extent such claims rely on the
                     aforementioned exculpated fiduciary duties of
                     Furie officers—but not as to any such duties of
                     Cornucopia officers;
                 o The claims for breach of fiduciary duty will
                     proceed against Nunes, Hryck, and Reed Smith
                     in their capacities as attorneys;
                 o The claim for breach of fiduciary duty against
                     Stone Pigman will be dismissed for failure to
                     plead sufficient facts and as time barred;
                 o The unjust enrichment claim against Helena
                     Energy will proceed—except to the extent that
                     the Trustee seeks to recover against Helena
                     Energy for gas sold through Aurora Gas; and
                 o The assertion of exemplary damages and
                     attorney fees will be dismissed as stand-alone
                     claims, but such will be allowed as remedies
                     where permitted by law.
            Specific orders as to claim dismissals and the Trustee’s
        ability to replead are stated in the conclusion.
                     a. Fraudulent transfer
            The Trustee brings claims for actual fraudulent
        transfer and constructive fraudulent transfer pursuant to
        11 USC § 548. It also brings parallel state claims and
        insider fraudulent-transfer claims pursuant to Texas
        Business and Commerce Code §§ 24.005 & 24.006 through
        11 USC § 544. Dkt 155 at ¶¶ 190–94, 195–98, 199–201.
        These claims appear to be stated as to transfers from Furie




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        in the four-year period preceding the commencement of
        Furie’s bankruptcy case. Id at ¶ 191.
            As a threshold matter, Nunes contends that the
        Trustee lacks standing to sue under the Texas Uniform
        Fraudulent Transfer Act because the Act only allows
        creditors to seek relief. Dkt 75 at 11. Although the state
        fraudulent-transfer claims cannot be brought by debtors,
        such claims “become estate property once bankruptcy is
        under way by virtue of the trustee’s successor rights under
        § 544(b).” See In re Moore, 608 F3d 253, 262 (5th Cir 2010);
        11 USC § 544. The joint restructuring plan states, “The
        Litigation Trust shall act for the Estates.” Dkt 835-1 at 45.
        And so, the Trustee brings the state claims standing “in the
        shoes of” the Furie and Cornucopia bankruptcy estates. US
        Bank National Ass’n v Verizon Communications Inc, 479
        BR 405, 413 (ND Tex 2012). The Trustee therefore has
        standing to bring the fraudulent-transfer claims under
        TUFTA. See US Bank, 479 BR at 413.
            As a substantive matter, Stone Pigman and Hord
        contend that these claims are time-barred insofar as they
        relate to the Furie bankruptcy estate. Dkt 157 at 12–15
        & 169 at 22–24. In support, they cite 11 USC § 546, which
        states:
                An action or proceeding under section 544,
                545, 547, 548, or 553 of this title may not
                be commenced after the earlier of—
                (1) The later of—
                     (A) 2 years after the entry of the order
                     for relief; or
                     (B) 1 year after the appointment or
                     election of the first trustee under
                     section 702, 1104, 1163, 1202, or 1302
                     of this title if such appointment or such
                     election occurs before the expiration of
                     the period specified in subparagraph
                     (A); or
                (2) the time the case is closed or dismissed.




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            Subsection (2) is the pertinent reference point here.
        The final decree in Furie Operating states in pertinent
        part, “The chapter 11 Case[ ] of Furie Operating Alaska,
        LLC (Case No. 19-11781) . . . [is] hereby CLOSED, effective
        and enforceable upon the later of, (a) the entry of this Final
        Decree and (b) the occurrence of the Effective Date” of the
        third amended joint plan of reorganization. Furie
        Operating, Dkt 868 at 2. The effective date of that plan of
        reorganization was June 30, 2020. Id at Dkt 866. The
        bankruptcy court entered the final decree on July 1, 2020.
        Id at Dkt 868 at 5.
            By the decree’s plain terms, then, Furie Operating
        closed on July 1, 2020. All claims under §§ 544 and 548
        relating to the Furie bankruptcy estate had to be brought
        before that date. The Trustee brought those claims over one
        year later, on August 6, 2021. Dkt 1-5. The claims thus
        appear to be barred by § 546 unless some reason
        establishes that the limitations period didn’t commence or
        was somehow otherwise tolled.
            The Trustee proffers three such reasons. None are
        convincing.
                       i. Furie Operating proceeding
            The Trustee asserts that provisions within the final
        decree of the Furie Operating bankruptcy matter establish
        that that such proceeding isn’t actually “closed” for
        purposes of § 546(2). See Dkt 171 at 10, 13.
            For example, the final decree notes at several points
        that certain matters that litigants could have brought in
        Furie Operating can still be brought in Cornucopia Oil &
        Gas. It states:
                The Remaining Matters, whether or not
                they pertain to the Closed Cases, including
                any Claims Objections with respect to
                claims against the Closing Debtors, shall
                be filed, administered, and adjudicated in
                the Chapter 11 Case of Cornucopia Oil &
                Gas Company, LLC (Case No 19-11782)




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                (the “Remaining Case”) or by the Litigation
                Trust, pursuant to the Litigation Trust
                Agreement, without the need to reopen the
                Closing Debtors’ Chapter 11 cases.
        Furie Operating, Dkt 868 at 2 (point 4) (emphasis omitted);
        see also id at 9–10.
            The Trustee also points to the fact that the final decree
        required that a docket entry be made in Furie Operating
        that stated:
                An order has been entered in this case
                directing that all further reporting
                concerning the administration of the assets
                and liabilities in this case will occur only in
                the case of Cornucopia Oil & Gas Company,
                LLC, Case No. 19-11782. The docket in
                Case No. 19-11782 should be consulted for
                all matters affecting this case.
        Id at 10. Such an order was in fact entered. See Furie
        Operating, Dkt 879.
             But argument as to the former depends upon the
        definition of Remaining Matters. That term is elsewhere
        defined much more narrowly, to include only “miscella-
        neous motions, applications, pleadings, objections, or other
        matters or proceedings [that] may arise from time to time
        in respect of the Closing Debtors’ Chapter 11 Cases or the
        Closing Debtors (together with the Claims Objections and
        the Fee Applications).” Furie Operating, Dkt 868 at 1 n 2,
        citing Furie Operating, Dkt 843 at 4 (defining “Remaining
        Matters”). And that definition was immediately proceeded
        by observation that “the Debtors do not anticipate any
        further contested matters in the Closing Debtors’ Chapter
        11 Cases since such matters will, as of the Effective Date,
        have been transferred to the Litigation Trust for prosecution
        and resolution by the Litigation Trust.” Ibid (emphasis
        added). Taken together and read in context, this doesn’t




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        appear to provide any support for what is an otherwise
        late-filed fraudulent transfer claim.
             And as to both, Section 350(a) of Title 11 and
        implementing procedural rules warrant a different
        construction. Section 350(a) provides, “After an estate is
        fully administered and the court has discharged the
        trustee, the court shall close the case.” Rule 3022 of the
        Federal Rules of Bankruptcy Procedure in mandatory
        terms thus states, “After an estate is fully administered in
        a chapter 11 reorganization case, the court, on its own
        motion or on motion of a party in interest, shall enter a
        final decree closing the case.”
            The advisory committee notes set forth a list of six
        factors that a court should consider in determining
        whether the estate has been fully administered. These are:
                (1) whether the order confirming the plan
                has become final, (2) whether deposits
                required by the plan have been distributed,
                (3) whether the property proposed by the
                plan to be transferred has been trans-
                ferred, (4) whether the debtor or the
                successor of the debtor under the plan has
                assumed the business or the management
                of the property dealt with by the plan,
                (5) whether payments under the plan have
                commenced, and (6) whether all motions,
                contested matters, and adversary proceed-
                ings have been finally resolved.
        FRBP 3022, advisory committee note (1991); see also
        11 USC § 1101(2). Delaware bankruptcy courts have
        adopted the view that all factors needn’t be present in order
        to determine that a case has been fully administered. See
        In re SLI Inc, 2005 WL 1668396, *2 (Bankr D Del).
            Furie moved to close its bankruptcy action on June 15,
        2020. Furie Operating, Dkt 843. It there generally affirmed
        that the “foregoing factors” pertinent to Rule 3022 “weigh




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        strongly in favor of closing”. Furie Operating, Id at 7. It also
        argued that any remaining matter “can be administered by
        [Cornucopia] without any substantive impact on any party
        in interest.” Id at 4; see also id at 7–8. And it asserted that
        closing the action would have “no impact on the resolution
        of any remaining claims or distributions, other legal
        entitlements under the Plan, or the substantive rights of
        any party in interest.” Furie Operating, Dkt 843 at 9. The
        bankruptcy court granted that motion and entered an
        order closing the action, titled “Final Decree and Order (I)
        Closing Certain Cases and (II) Amending Caption of
        Remaining Case.” Furie Operating, Dkt 868.
             The Trustee notes that the bankruptcy court stated
        there that “all further reporting concerning the admini-
        stration of the assets and liabilities in [Furie Operating]
        shall occur only in” Cornucopia Oil & Gas. Dkt 171 at 10,
        citing Furie Operating, Dkt 868 at 3. But a respected
        treatise on bankruptcy procedure makes clear that the
        existence of remaining ministerial tasks doesn’t “render an
        order closing a case invalid or justify recharacterizing it as
        an interim order.” 3 Collier on Bankruptcy ¶ 350.02, citing
        Matter of Wade, 991 F2d 402, 408 (7th Cir 1993); see also
        In re Swiss Chalet Inc, 485 BR 47, 52 (Bankr DPR 2012).
        That remains true even though Furie hadn’t filed its final
        report as required by Rule 3022-1(c) of the Local Rules of
        the US Bankruptcy Court for the District of Delaware. See
        Matter of Wade, 991 F2d at 408.
            Also apparent is the fact that Furie sought to close its
        bankruptcy action largely to avoid “significant costs on
        [Furie’s] estate,” namely US Trustee fees. Furie Operating,
        Dkt 843 at 2. But nothing in the Bankruptcy Code or the
        Federal Rules of Bankruptcy Procedure would appear to
        allow a bankruptcy court to close an action yet continue to
        administer the estate for the sake of circumventing such
        fees. See In re Atna Resources Inc, 576 BR 214, 221–23
        (Bankr D Colo 2017); In re Swiss Chalet Inc, 485 BR at 52;




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        but see In re Garcia, 2018 WL 3524581, *1, *3 (Bankr
        D Mass). Instead, Congress prescribed a single way to close
        an action pursuant to 11 USC § 350(a), as implemented by
        Bankruptcy Rule 3022. And the equitable power of the
        bankruptcy court is insufficient to vitiate this statutory
        mandate. The United States Supreme Court instead holds,
        “It is hornbook law that § 105(a) does not allow the
        bankruptcy court to override explicit mandates of other
        sections of the Bankruptcy Code.” Law v Siegel, 571 US
        415, 421 (2014) (cleaned up).
            In sum, the final decree means what it says—in line
        with what Furie specifically requested. And that is, that
        Furie Operating closed as of July 1, 2020.
                      ii. Cornucopia Oil & Gas proceedings
            The Trustee argues that the case isn’t closed because
        Cornucopia Oil & Gas remains open. Dkt 171 at 13. This
        proceeds from observation that Furie Operating and
        Cornucopia Oil & Gas were jointly administered pursuant
        to 11 USC § 302 and Rule 1015(b) of the Federal Rules of
        Bankruptcy Procedure, with Furie Operating being
        designated the lead case. Furie Operating, Dkt 50. And
        Cornucopia Oil & Gas does in fact remain open.
            But importantly, the Rules of Bankruptcy Procedure
        distinguish between joint administration and substantive
        consolidation. That’s because the latter “affects the
        substantive rights of the creditors of the different estates.”
        FRBP 1015, advisory committee note (1983). As one
        bankruptcy court summarized:
                   There is a dramatic difference between
                the joint administration contemplated by
                Rule 1015(b) and substantive consolida-
                tion. Joint administration is a creature of
                procedural convenience. It is justified by
                the laudable desire to avoid wasting of
                resources, which would result through the
                duplication of effort if cases involving
                related debtors were to proceed entirely




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                 separately. Thus, rather than having two of
                 everything, there need only be one trustee,
                 one docket, and duplicate pleadings or
                 claims can be avoided. The estates of each
                 debtor, however, remain separate. In this
                 way, the desire for administrative
                 efficiency can be fulfilled without altering
                 the substantive rights of the parties.
                     Unlike joint administration, substan-
                 tive consolidation has a dramatic impact on
                 the rights of the parties to a bankruptcy
                 proceeding. When cases are substantively
                 consolidated, the debtors lose their separ-
                 ateness and are treated as one entity. Their
                 individual estates are combined to create a
                 single pool, out of which the claims of all
                 creditors can be paid. The ultimate result
                 is the same as if there were only one debtor.
        Matter of Steury, 94 BR 553, 553–54 (Bankr ND Ind 1988)
        (internal citations omitted).
            As noted above, distinct bankruptcy proceedings were
        sequentially opened in the District of Delaware—case
        numbers 19-11781 (Furie Operating) and 19-11782
        (Cornucopia Oil & Gas). The companies then moved for
        joint administration pursuant to Rule 1015(b). Furie
        Operating, Dkt 3. That motion was granted. Id at Dkt 50.
        But the actions were never consolidated. Instead, the order
        directing joint administration specifically states that the
        two actions were “consolidated for procedural purposes
        only” under the Furie Operating bankruptcy proceedings.
        Id, Dkt 50 at 2.
            The bankruptcy court then reiterated this distinction
        in the plan of reorganization, stating that the two cases had
        been “consolidated for procedural purposes only” and were
        being “jointly administered” in such way. Id, Dkt 806 at 5.
        Consolidation was only mentioned three other times in the
        plan, but never in a context suggesting in any way that the
        bankruptcy court did or had intended to substantively
        consolidate the two actions. See id, Dkt 806 at 38, 39, 50.



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            In short, nothing supports contention that Furie
        Operating and Cornucopia Oil & Gas were ever
        substantively consolidated. They instead remained
        separate and distinct actions despite joint administration.
        Whether one proceeding or the other was designated as
        open or closed doesn’t affect the status of the other. As such,
        the active status of Cornucopia Oil & Gas doesn’t
        circumvent the reality that Furie Operating closed on
        July 1, 2020.
                      iii. Effect of final decree in Furie Operating
            The Trustee also points to certain language in the final
        decree, arguing that the closure of the Furie Operating
        matter doesn’t preclude the Trustee’s ability to bring
        causes of action transferred to the litigation trust. Dkt 171
        at 13. Specifically, the final decree stated:
                   5. Entry of this Final Decree is without
                prejudice to: . . . (c) the Litigation Trust to
                bring and pursue claims, causes of action,
                or otherwise seek relief in connection with
                the Litigation Trust Assets.
                   ...
                    12. Notwithstanding the relief granted
                in this Final Decree and any action taken
                pursuant to such relief, nothing in this
                Final Decree shall be deemed: . . . (f) a
                waiver of any claims or causes of action
                held by the Closing Debtors which may
                exist against any entity.
        Dkt 157-1 at 244–255.
            Nothing in this language of itself tolls the limitations
        period or otherwise disturbs statutory provisions pertinent
        to that period. Stated differently, the final decree means
        what it says on the day it entered—no less, but also no
        more. And so, entry of the final decree neither prejudiced
        the rights of the Trustee to bring and pursue claims, causes
        of action, or otherwise seek relief in connection with
        Litigation Trust Assets, nor waived any rights, claims, or
        causes of action held by the Closing Debtors—who are



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        defined in the final joint plan of reorganization for the
        Furie bankruptcy to include Furie. Furie Operating, at
        Dkts 868 n 2 & 843 at 1 (defining “Closing Debtors”). Yet
        its entry then commenced the running of the § 546
        limitations period. And when that time period ran, § 546
        independently barred the claims under §§ 544 and 548 that
        derive from the Furie bankruptcy estate.
            The Trustee suggests that In re Vanguard Natural
        Resources, 2021 WL 220697 (Bankr SD Tex 2021), is to the
        contrary. Dkt 171 at 14. There, a parent company and its
        subsidiaries entered a jointly administered bankruptcy.
        The bankruptcy court later closed the cases of the
        subsidiaries to avoid accrual of US Trustee fees, with the
        parent company’s case remaining open. 2021 WL 220697 at
        *21. When the trustee sought to recover against third
        parties pursuant to claims under §§ 547 and 549 that arose
        out of a subsidiary estate, the third parties argued that the
        claims were barred by § 546. Id at *19. The bankruptcy
        court—construing its own order—found that the debtor
        knew that the subsidiary action wasn’t fully administered
        and that the final decree wasn’t intended to close the
        subsidiary action within the meaning of § 350(a). Id at
        **21–22. Rather, the closure was “purely an administrative
        and non-judicial act.” Id at *22 (cleaned up). The
        bankruptcy court thus held that the final decree “overrode”
        the limitation period of § 546. Ibid.
            But such statements were made by the bankruptcy
        court when construing its own order on matters still before
        it—and as to what the parties before it did or didn’t
        understand about that order. Such ruling doesn’t
        meaningfully inform the decision here. It also isn’t tenable
        if generalized to encompass the present procedural
        posture. As previously noted, a bankruptcy court may not
        use its equitable powers in contravention of an explicit
        provision of the bankruptcy code. See Law, 571 US at 421.
        As such, it can’t use its equitable powers to circumvent the
        requirements of 11 USC § 350(a). Nor can such powers
        override the limitations period set forth in 11 USC § 546.




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             The bankruptcy court in In re Vanguard went on to
        suggest that even if entry of a final decree that “overrode”
        the limitations period of § 546 violated the bankruptcy
        code, such a determination wouldn’t invalidate the order’s
        effect. In so holding, the bankruptcy court relied on United
        States Aid Funds Inc v Espinosa, 559 US 260, 260 (2010).
        The Supreme Court there found that an order by a
        bankruptcy court contained a legal error, but it held that
        the order remained enforceable against the creditor
        because the creditor had actual notice of the error and
        failed to object or timely appeal. Id at 272.
             But just as Defendants aren’t (as in In re Vanguard)
        parties here before the bankruptcy court as it construes its
        own order, neither are they (as in Espinosa) creditors with
        claims before the bankruptcy court. Certainly, nothing on
        the bankruptcy court docket suggests that Defendants
        received actual notice of the motion or final decree in such
        context as party or creditor. See Furie Operating, Dkt 851.
             Simply put, Espinosa and In re Vanguard are
        inapposite.
                       iv. Conclusion
             As determined above, the bankruptcy proceedings in
        Furie Operating closed on July 1, 2020. Furie Operating,
        Dkt 868 at 5. The limitations period of § 546 thus applies
        and began to run, further meaning that the claims under
        §§ 544 and 548 claims arising out of the Furie bankruptcy
        estate are barred by that limitations period. All such claims
        against Defendants will be dismissed with prejudice.
             As noted at the outset, it appears that the Trustee may
        intend fraudulent-transfer claims as well with respect to
        the Cornucopia bankruptcy estates. And the bankruptcy
        proceedings in Cornucopia Oil & Gas aren’t closed and so
        the § 546 limitations period hasn’t begun to run. This
        means in turn that any claims under §§ 544 and 548 arising
        out of the Cornucopia bankruptcy estate aren’t barred. But
        as currently pleaded, such claims—to the extent pleaded—
        are impossible to separate from those arising out of the
        Furie bankruptcy estate. Any such claims with respect




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        solely to the Cornucopia bankruptcy estate will thus be
        dismissed without prejudice. The Trustee may seek leave
        to replead in this regard within 45 days, if desired.
                     b. Breach of fiduciary duty, Furie officers
             The Trustee alleges that a number of Defendants owed
        fiduciary duties to Furie due to their relation to it, being (i)
        Rieck, due to his ownership interest and control; (ii) Hord,
        Nunes, van Stephoudt, Degenhardt, Elder, and Ganer, due
        to their positions as named or de facto officers. The Trustee
        further alleges that each of them breached those fiduciary
        duties. Dkt 155 at ¶¶ 167–82.
             Defendants respond that exculpatory clauses in certain
        of Furie’s amended LLC agreements eliminated the
        fiduciary duties of all officers of Furie, which in turn
        eliminates here all theories of liability related to breach of
        fiduciary duty in that respect. See Dkts 63 at 11–15, 75
        at 9–10, 157 at 15–18 & 169 at 14–16; see also Dkts 64
        at 23–24 & 65 at 19.
                         i. Exculpatory clause, considered
             Furie was originally formed under the laws of Texas in
        1999. Dkt 157-1 at 306. Neither its first nor second
        amended LLC agreement contained any waiver of fiduciary
        duties. Its second agreement remained in effect from 2012
        until December 10, 2017. Dkt 157-1 at 266–81. Furie then
        filed a third amended and restated operating agreement.
        Id at 283–293. That agreement stated that Furie remained
        a Texas LLC organized under Texas law. Id at 284. And it
        included an exculpatory clause stating in pertinent part:
                    9. No Fiduciary Duties; Business
                 Opportunities. To the fullest extent
                 permitted by applicable law, no manager of
                 the Board or officer of the Company, in
                 each case, solely in their respective
                 capacities as such, shall have any duty,
                 fiduciary or otherwise, to the Company in
                 connection with the business and affairs of
                 the Company or any consent or approval




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                 given or withheld pursuant to this
                 Agreement.
        Id at 288.
            Furie then reincorporated as a Delaware limited
        liability company. It filed a fourth amended and restated
        operating agreement effective January 25, 2018. Dkt 157-1
        at 306–319. The fourth amended agreement contains the
        same exculpatory clause as above, while stating that
        Delaware law governs. Id at 311, 314.
             The Trustee brings various claims relating to alleged
        breaches of fiduciary duties by Furie officers that occurred
        before December 10, 2017. Iterations of such claims include
        (i) breach of fiduciary duty against Rieck, Hord, van
        Stephoudt, Stone Pigman, Degenhardt, Elder, Nunes, and
        Ganer; (ii) aiding and abetting breach of fiduciary duty
        against Ganer and Sierra Pine; and (iii) civil conspiracy
        against Rieck, Hord, Degenhardt, Nunes, Elder, van
        Stephoudt, Hryck, Reed Smith, Ganer, and Sierra Pine.
        Dkt 155 at ¶¶ 167–82, 183–89, 208–13.
             Reed Smith, Nunes, Stone Pigman, Hyrck, and van
        Stephoudt contend that the exculpatory clause in the
        fourth amended LLC agreement not only eliminated
        fiduciary duties of Furie officers going forward, but also
        broadly exculpated any breach of fiduciary duty that
        occurred under the prior LLC agreements. See Dkts 63
        at 11–15, 75 at 9–10, & 169 at 14–16; see also Dkts 64
        at 23–24 & 65 at 19. Hord makes the same argument under
        both the third and fourth amended LLC agreements.
        Dkt 157 at 15–18. The Trustee responds that the third and
        fourth amended LLC agreements had “no effect on causes
        of action that had already arisen in Furie’s favor for
        breaches” under the earlier agreements. Dkt 118 at 15–16.
             “When reviewing issues of state law, federal courts look
        to the law of that state’s highest court.” City of Alexandria
        v Brown, 740 F3d 339, 351 (5th Cir 2014). “In the absence
        of a final decision” by that court, federal courts “must make
        an Erie guess” and determine how the state’s highest court
        would decide the issue “if presented with the same case.”




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        Ibid, quoting In re Katrina Canal Breaches Litigation,
        495 F3d 191, 206 (5th Cir 2007). Federal courts in making
        an Erie guess defer to “intermediate state appellate court
        decisions, unless convinced by other persuasive data that
        the highest court of the state would decide otherwise.”
        Id at 351 (cleaned up).
            As a preliminary matter, it’s important to note that the
        parties agree that the fourth amended LLC agreement
        selects Delaware law, and that Delaware law thus governs
        the question of the retroactive effect of that exculpatory
        clause. For example, see Dkts 63 at 13, 75 at 10, 157 at 18,
        169 at 14 & 118 at 15. Obviously, if that clause has
        retroactive effect, it subsumes all prior versions—meaning
        in turn that there would be no need to determine whether
        the same language in the third amended LLC agreement
        would also have retroactive effect under Texas law.
            Interpreting Delaware law, the Delaware Court of
        Chancery holds, “Drafters of an LLC agreement must
        make their intent to eliminate fiduciary duties plain and
        unambiguous.” Feeley v NHAOCG, LLC, 62 A3d 649, 664
        (Del Ch 2012) (cleaned up). Section 18-1101(c) of Title 6 of
        the Delaware Code provides that “the member’s or
        manager’s or other person’s duties may be expanded or
        restricted or eliminated by provisions in the limited
        liability company agreement.” The only apparent limit
        provided by the statute is that the LLC agreement “may
        not eliminate the implied contractual covenant of good
        faith and fair dealing.” Ibid.
            Neither party cites controlling authority from the
        Delaware Supreme Court that resolves the retroactive
        effect of the exculpatory clause here at issue. But they
        appear to agree that the question of whether the fourth
        amended LLC agreement exculpates fiduciary duties
        arising before that date is simply one of contractual
        interpretation. This proceeds from straightforward
        holdings of the Delaware Court of Chancery. For instance,
        the court in Gooden v Franco summarized:
                 It is frequently observed that LLCs ‘are
                 creatures of contract,’ which they primarily



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                are. The first step when analyzing a case
                involving the internal affairs of an LLC is
                therefore to examine the LLC agreement to
                determine whether it addresses the issue.
                If it does, then the contract controls, unless
                the provision violates one of the
                exceedingly few mandatory provisions in
                the LLC Act. If the LLC agreement is
                silent, then the next step is to look to the
                LLC Act to see if one of its default
                provisions applies. If neither source
                addresses the matter, then the LLC Act
                instructs that “the rules of law and equity
                . . . shall govern.”
        2018 WL 3998431, *7 (Del Ch) (citations omitted). Analysis
        will thus proceed in such way.
            The fourth amended LLC agreement begins with
        certain recitals. One states, “This Agreement amends and
        restates the Previous Agreement in its entirety.” Dkt 157-1
        at 306 (emphasis added). The Delaware Chancery Court
        has held that the amends-and-restates phrasing indicates
        “that the subsequent operating agreement replaced and
        superseded the predecessor agreement.” Focus Financial
        Partners LLC v Holsopple, 241 A3d 784, 822 (Del Ch 2020)
        (emphasis added). Once an LLC agreement is superseded
        by a subsequent agreement, a limited liability company can
        no longer bring claims that arose under the superseded
        agreement. Id at 823.
            Such a conclusion conforms to the broad language of
        the exculpatory provision. As phrased, it vitiates all
        fiduciary duties owed by Furie officers to “the fullest extent
        permitted by applicable law.” Dkt 157-1 at 310.
        Elimination of fiduciary duties to the fullest extent
        permitted by Delaware law necessarily includes—in accord
        with authority noted immediately above—exculpation of
        those fiduciary duties owed (and potentially breached) in
        the past. And indeed, the Trustee conceded at hearing that
        Delaware law not only permits the exculpation of all
        fiduciary duties going forward, but also allows an LLC to




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        release its officers from past breaches of fiduciary duty.
        Dkt 190 at 94; see CelestialRX Investments, LLC v
        Krivulka, 201 WL 416990, *16 (Del Ch 2017) (finding
        exculpatory clause to eliminate fiduciary duties to extent
        permitted by Delaware law).
             All of this simply means that the plain language of the
        fourth amended LLC agreement not only exculpates all
        fiduciary duties after January 25, 2018, but also all
        fiduciary duties that arose under all prior agreements. The
        Trustee argues to the contrary, noting that the agreement
        (i) states that it is “effective as of January 25, 2018,” (ii) is
        written prospectively, and (iii) can’t be construed as a silent
        release. Dkt 118 at 16–17. None of these arguments
        withstands scrutiny.
             First, there’s a distinction between the effective date of
        the fourth amended LLC agreement and what it portends
        as to its exculpatory effect. Section 18-201(d) of the
        Delaware Limited Liability Company Act provides parties
        broad discretion regarding the effective date of their
        agreement. See also Rodgers v Erickson Air-Crane Co,
        2000 WL 1211157, *5 (Del Superior Ct) (holding that
        parties can agree that written contract took effect earlier
        than execution date). But the parties here didn’t need to
        backdate the fourth amended LLC agreement—or even
        indicate any particular effective date—to exculpate all past
        breaches of fiduciary duty. That purpose was instead
        achieved by the amends-and-restates language quoted and
        addressed above. See Dkt 157-1 at 306.
             Second, as the Trustee contends, it’s true that “the
        relevant portion of both operating agreements is written
        prospectively” in that they state no manager or officer
        “shall have” fiduciary duties in connection with Furie.
        Dkts 171 at 17 (emphasis in original) & 157-1 at 310. But
        this language doesn’t stand alone. It must instead be read
        in conjunction with the clause’s introductory phrase
        pertaining to modification “[t]o the fullest extent permitted
        by applicable law.” Dkt 157-1 at 310. As determined above,
        such phrasing signals the exculpation of past breaches of
        fiduciary duties. Again, this follows from what Delaware




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        law allows in its maximal extent, as conceded above by the
        Trustee.
            And third, contrary to contention by the Trustee,
        construing the language of the fourth amended LLC
        agreement to exculpate past breaches isn’t a “silent
        release.” Dkt 118 at 17. Quite the contrary. Such a
        construction simply affords each clause its due legal and
        textual significance under Delaware law. This is
        particularly evident where the Delaware Corporate
        Statute specifically provides, “No such provision shall
        eliminate or limit the liability of a director or officer for any
        act or omission occurring prior to the date when such
        provision becomes effective.” 8 Del C § 102(b)(7). Given that
        this or similar language does not feature in the Delaware
        Limited Liability Company Act, the omitted-case canon of
        construction undercuts the Trustee’s argument. This is
        “the principle that what a text does not provide is
        unprovided.” Antonin Scalia & Brian A. Garner, Reading
        Law 96 (West 2012). In such view, it simply isn’t the
        province of “the judicial power . . . to supply words or even
        whole provisions that have been omitted.” Id at 93. This is
        particularly true here, for the Delaware legislature
        certainly knew how to provide limitations on the effect of
        exculpatory clauses when it so intended. That it didn’t do
        so under Delaware Limited Liability Company Act is the
        end of the matter. Such a limitation can’t later be read into
        the statute.
            In conclusion, the fourth amended LLC agreement
        exculpates past (and later) breaches of fiduciary duty.
                       ii. Exculpatory clause, applied
            The application of the exculpatory provision on claims
        brought by the Trustee differs based on the claim and the
        status of the individual defendant. The parties without
        elaboration rely upon Texas (and not Delaware) law for the
        purpose of certain claims ancillary to that for breach of
        fiduciary duty. Analysis on those claims appropriately
        proceeds upon such concession.




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             As to claims for breach of fiduciary duty against Furie
        officers generally, they will be dismissed with prejudice
        insofar as they are brought based on their duties arising
        from various roles as Furie officers. Such claims against
        Rieck, Hord, van Stephoudt, Degenhardt, Ganer, and Elder
        are thus barred by the exculpation clause in the fourth
        amended LLC agreement.
             As to the claim for breach of fiduciary duty against
        Nunes, the claim will be dismissed with prejudice insofar
        as it relates to his role as a Furie officer. But as discussed
        below, the Trustee adequately pleaded that Nunes owed
        separate and distinct fiduciary duties to Furie as an
        attorney. See Dkt 107 at 14–15 (consolidating multiple
        instances alleged in complaint where Nunes received
        improper benefits and acted for benefit of Rieck); see also
        Dkt 155 at ¶¶ 61–64, 67, 81, 83–84, 87–88. The motion to
        dismiss by Nunes will thus be denied as it relates to such
        a claim.
             As to the claims for aiding and abetting breach of
        fiduciary duty, they will be dismissed with prejudice to the
        extent that they rely on duties that the various officers
        owed to Furie. The parties rely without elaboration upon
        Texas law. While the Supreme Court of Texas hasn’t yet
        expressly so stated, the Fifth Circuit holds that Texas law
        recognizes a claim for “knowing participation in a breach of
        fiduciary duty.” D’Onofrio v Vacation Publications Inc,
        888 F3d 197, 215–16 (5th Cir 2018). But such a claim
        requires an underlying breach of fiduciary duty. And none
        exists here as to officers of Furie.
             As to the claims for civil conspiracy, they will be
        dismissed with prejudice insofar as they relate to the
        exculpated duties of Furie officers. The parties again rely
        without elaboration upon Texas law. Generally speaking,
        such a claim “requires specific intent to agree to accomplish
        something unlawful or to accomplish something lawful by
        unlawful means,” and it “inherently requires a meeting of
        the minds on the object or course of action.” First United
        Pentecostal Church of Beaumont v Parker, 514 SW3d 214,
        222 (Tex 2017). One of the essential elements of such a




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        claim is that one or more unlawful, overt acts are taken in
        pursuance of the object or course of action. Ibid. But again,
        any underlying breach of fiduciary duty was exculpated—
        meaning that it is (or was) no longer unlawful.
             As to claims for breach of fiduciary duty and related
        claims in other contexts, they will be dismissed without
        prejudice. The extent to which these claims—as against
        Rieck, Hord, van Stephoudt, Degenhardt, Ganer, Elder,
        and Nunes—purport to arise from fiduciary duties that
        may exist beyond role their roles as Furie officers isn’t
        clear. For example, and at a minimum, the Cornucopia
        LLC agreement hasn’t been put at issue here. As such,
        neither the claims for breach of fiduciary duty arising out
        of duties (if any) owed by Defendants as Cornucopia
        officers, nor any related claims, are subject to dismissal.
        But as currently pleaded, such claims are impossible to
        separate from those arising out of the exculpated duties of
        Furie officers. The Trustee may seek leave to replead such
        claims with respect solely to any other fiduciary duties
        owed within 45 days, if desired.
                     c. Breach of fiduciary duty, legal services
             The Trustee asserts claims for breach of fiduciary duty
        against various counsel to the company, including Reed
        Smith, Hryck as the engagement partner at Reed Smith,
        and Nunes as outside general counsel (from Cogan
        Partners and Stone Pigman as its successor). Dkt 155
        at ¶¶ 34, 170, 179. Nunes contends that this is an improper
        attempt at group pleading. See Dkt 75 at 7. Hryck argues
        that the Trustee failed to plead facts demonstrating that
        he owed any fiduciary duty. And all three contend that the
        claims are barred by the anti-fracturing rule. Dkt 64 at 22.
        These aren’t persuasive.
                         i. Prohibition on group pleading
             Nunes contends that the Trustee has engaged in
        impermissible group pleading by failing to allege which
        individual defendants took which action. Dkt 75 at 7–9,
        citing Alaska Electrical Pension Fund v Asar, 768 Fed Appx
        175, 184 (5th Cir 2019); Financial Acquisition Partners LP




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        v Blackwell, 440 F3d 278, 287 (5th Cir 2006). In particular,
        Nunes argues that the complaint “tells nothing about what
        Nunes himself is alleged to have done,” while only singling
        him out in the paragraph that introduces him. Dkt 75 at 7.
             Not so. The complaint provides sufficient detail
        regarding his role in the overall enterprise. For instance,
        Nunes structured Advanced Drilling and served as its sole
        member until February 2016, at which time Offshore
        Management (in which Nunes received a twenty percent
        ownership interest) became the sole member. Dkt 155
        at ¶¶ 64 & 83–84. Furie nominally paid Advanced Drilling
        $55,000 a day to manage the Randolph Yost rig. Id at ¶ 62.
        But in actuality, Advanced Drilling was used to screen
        fraudulent transfers. Nunes knew that these transactions
        were disloyal and took affirmative steps to hide them. Id
        at ¶ 81; see also id at ¶ 83–85. And what’s more, Nunes
        negotiated the Enstar agreement despite knowing that
        Furie couldn’t meet its obligations under that contract. Id
        at ¶¶ 137–38.
             Or so it’s alleged. But in short, the Trustee hasn’t
        engaged in impermissible group pleading.
                        ii. Lack of fiduciary duty
             Hryck contends that the Trustee failed to plead facts
        supporting that he “was in fact providing professional legal
        services to Furie in the 2016 timeframe.” Dkt 64 at 18. He
        notes that the Trustee alleges only that Reed Smith began
        billing Furie for work beginning in February 2016 and that
        Hryck happened to be an attorney for Reed Smith during
        that period. And the complaint suggests it wasn’t until
        December 2017 that Hryck signed an engagement letter
        (backdated to June 2017) on behalf of Reed Smith. Ibid.
             To the contrary, the Trustee pleads sufficient facts to
        state a claim for relief that’s “probable on its face.”
        Twombly, 550 US at 547. In particular, it’s alleged that
        Furie actually engaged Reed Smith—via Hryck—in
        February 2016, even though an engagement letter between
        Reed Smith and Furie wasn’t signed until that December.
        Dkt 155 at ¶ 16, 36. It also alleges knowing participation




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        by Hryck in multiple schemes to defraud Furie. For
        example, see Dkt 155 ¶ 81, 83–85.
                        iii. Anti-fracturing rule
            The anti-fracturing rule prevents a plaintiff from
        pursuing “what are actually professional negligence claims
        against an attorney” under the guise of some other cause of
        action, thus precluding a claim for breach of fiduciary duty
        where the “gravamen” of the complaint focuses “on the
        quality or adequacy of the attorney’s representation.”
        Won Pak v Harris, 313 SW3d 454, 458 (Tex App—Dallas
        2010). But such a claim may go forward if the allegations
        involve “the integrity and fidelity of an attorney” and “focus
        on whether an attorney obtained an improper benefit from
        representing the client.” Id at 457; see also Murphy v
        Gruber, 241 SW3d 689, 693 (Tex App—Dallas 2007).
            An attorney “benefits improperly from the attorney-
        client relationship by, among other things, subordinating
        his client’s interest to his own, retaining the client’s funds,
        engaging in self-dealing, improperly using client
        confidences, failing to disclose conflicts of interest, or
        making misrepresentations to achieve these ends.”
        Murphy, 241 SW3d at 693. As to conflicts of interest
        specifically, a complaint must surpass allegations that the
        undisclosed conflict resulted in substandard representa-
        tion. The client must instead assert that the attorney
        deceived him, pursued the attorney’s pecuniary interests
        over the client’s interest, or obtained an improper benefit
        from failing to disclose the conflict. See Id at 698; Beck, 284
        SW3d at 438–39.
            As but one example, Judge Sidney Fitzwater of the
        Northern District of Texas found in Taylor v Scheef & Stone
        LLP that a temporary receiver who brought claims on
        behalf of the estates of certain defunct entities avoided the
        anti-fracturing rule where he pleaded that a law firm
        “participated in breaches of fiduciary duties by knowingly
        providing services to perpetuate” such breaches. 2020 WL
        4432848, *8 (ND Tex). This was so, in part, because it was
        alleged that the law firm serving as the entities’ primary
        outside counsel knew that an officer had established a



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        scheme to “misappropriate millions of dollars” by selling
        “unregistered securities using unregistered sales reps”—
        yet it created a compensation program that allowed the
        scheme to continue. Ibid.
             Nunes, Hryck, and Reed Smith all argue variations on
        the theme that they didn’t receive any improper benefit.
        Read with the proper standard of review in mind, the
        complaint discloses otherwise.
             As to Nunes, he argues that the complaint doesn’t state
        that he received any benefit from his role in Advanced
        Drilling—and “mere receipt of legal fees will not suffice.”
        Dkt 75 at 6, 10. But as noted just above, the Trustee details
        how Nunes knowingly participated in multiple disloyal
        schemes. For example, allegation of acquisition of a stake
        in a company allegedly used to screen siphoned funds from
        a client obviously pleads a benefit—and one quite improper
        at that. Dkt 155 at ¶¶ 64 & 83–84. In other words, the
        “gravamen” of the claim certainly isn’t that Nunes’ actions
        were professionally negligent. Instead, the claim involves
        his “integrity and fidelity.” Murphy, 241 SW3d at 693.
             As to Hryck, he also argues that nothing suggests that
        he received anything of value in exchange for his alleged
        breaches. In particular, he asserts that the mere fact that
        he became the trustee of Offshore Management doesn’t
        necessarily show that he received any benefit. Dkt 64
        at 18–19. But the Trustee alleges that Hryck provided legal
        services that he knew would help Furie executives hide
        fraudulent transactions. Dkt 155 at ¶ 81. In other words,
        the claim “involves the integrity and fidelity” of Hryck—
        that he knowingly and actively helped officers raid his
        client. Murphy, 241 SW3d at 693. Indeed, such factual
        allegations largely track those in Taylor. See 2020 WL
        4432848 at *8.
             As to Reed Smith, it asserts that the Trustee failed to
        allege receipt of an improper benefit. Dkt 63 at 16–17. But
        the Trustee argues that Reed Smith billed Furie for
        services rendered by van Stephoudt as president of Furie.
        See Dkt 118 at 8. This alone constitutes an improper
        benefit because the fees didn’t represent compensation for



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        legal services. What’s more, the complaint contends that
        both van Stephoudt and Hryck—as representatives of Reed
        Smith—directly participated in a scheme to loot Furie. For
        example, see Dkt 155 at ¶¶ 85, 131. As van Stephoudt and
        Hryck took actions disloyal to Furie (and instead being to
        the benefit of other Rieck-controlled entities), Reed Smith
        directly benefited to the extent Furie paid it directly for the
        services of Hryck and van Stephoudt. Id at ¶ 121; see also
        Dkt 118 at 20–21. At least it is so alleged, and that is
        sufficient.
                       iv. Conclusion
            The motions to dismiss the claims for breach of
        fiduciary duty as they relate to Reed Smith, Nunes, and
        Hryck in their capacities as counsel and attorneys to Furie
        will be denied. The pleaded allegations at this stage
        properly present claims against them for breach of
        fiduciary duty. See Taylor, 2020 WL 4432848 at *8.
                    d. Breach of fiduciary duty, derivative theory
            The Trustee also brings a claim for breach of fiduciary
        duty against Stone Pigman. Dkt 155 at ¶¶ 167–82. But
        importantly, the Trustee doesn’t contend that Stone
        Pigman itself breached any fiduciary duty. It instead
        alleges that Stone Pigman is liable for breach of fiduciary
        duty via Nunes, who was partially seconded by Cogan &
        Partner and (in turn) Stone Pigman. Id at ¶ 20; see also id
        at ¶ 38 (noting Nunes as seconded for half of his time). It
        additionally contends that Stone Pigman is liable for
        breaches of fiduciary duty by Cogan & Partners because
        Stone Pigman is a successor by merger or by equitable
        estoppel, or because Cogan & Partners fraudulently
        transferred its assets to Stone Pigman. Id at ¶ 20; Dkt 175
        at 8. None of these theories bear out.
                        i. Stone Pigman via Nunes
            The Trustee conceded at hearing that Furie paid Nunes
        directly while he worked as a partner at Stone Pigman.
        Consequently, there’s no allegation that Stone Pigman
        received any improper benefit. See Dkt 190 at 23–24. This




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        precludes a claim for breach of fiduciary duty under the
        anti-fracturing standards addressed above.
             Independently fatal to this claim is the fact that the
        Trustee didn’t plead any facts showing that Stone Pigman
        is vicariously liable for Nunes’ conduct. The Trustee in fact
        didn’t plead vicarious liability at all. And it would be hard
        pressed to do so now. Seconded employees are considered
        employees of the borrowing employer. Brenham Oil &
        Gas Inc v TGS-NOPEC Geophysical Co, 472 SW3d 744, 760
        (Tex App—Houston 2015). Notwithstanding allegations of
        secondment of Nunes to Furie, the Trustee suggests that
        Nunes wasn’t a borrowed employee because Furie didn’t
        have “the right to direct the details of the work” that he
        performed. Dkt 175 at 18, quoting St Joseph Hospital
        v Wolff, 94 SW3d 513, 537–38 (Tex 2002). Such contention
        surpasses credulity, as the Trustee elsewhere specifically
        pleaded that Furie directly paid Nunes $50,000 per month
        to act as its general counsel. Dkt 155 at ¶ 191.
             The claims for breach of fiduciary duty against Stone
        Pigman via Nunes will be dismissed.
                        ii. Stone Pigman via Cogan & Partners
             The Trustee asserts claims against Stone Pigman as a
        successor to Cogan & Partners, either by merger or by
        equitable estoppel. Dkt 155 at ¶¶ 20, 219–26, 227–31.
        Establishing liability on the part of the prior firm is thus a
        necessary prerequisite before any transposition of that
        liability onto the succeeding firm. But the Trustee again
        fails to do so for the same reason that it failed to establish
        facts sufficient to hold Stone Pigman liable—nothing
        suggests that Cogan & Partners is vicariously liable for
        Nunes’ alleged breach of fiduciary duty.
             The claims against Stone Pigman for successor
        liability—whether by merger or by equitable estoppel—will
        be dismissed.
                         iii. Fraudulent transfer between firms
             Section 108(a) of Title 11 requires non-bankruptcy-law
        claims to be brought “before the later of” the expiration of
        the claim’s limitations period or two years after the “order




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        for relief.” The Fifth Circuit holds that the referenced order
        for relief operates “from the original filing date of the case
        under Chapter 11.” Matter of Phillip, 948 F2d 985, 988
        (5th Cir 1991).
             The pertinent order for relief for purposes here was
        entered on August 9, 2019. Furie Operating, Dkt 1;
        Cornucopia Oil & Gas, Dkt 1. The Trustee didn’t seek to
        amend its complaint to add this claim until October 19,
        2021. Dkt 94. The claim is thus barred unless it relates
        back to the original complaint, which the Trustee filed on
        August 6, 2021. See Dkt 1-5.
             A claim relates back if it arises “out of the conduct,
        transaction, or occurrence set out—or attempted to be set
        out—in the original pleading.” FRCP 15(c)(1)(B). As for a
        fraudulent-transfer claim specifically, it will relate back if
        (i) the amended complaint alleges that the additional
        transfers were part of a course of conduct alleged in the
        original complaint, and (ii) the original complaint notified
        the parties, against whom the additional transfer claims
        are asserted, that the Trustee could pursue avoidance of
        the additional transfers associated with the course of
        conduct alleged in the original complaint. In re Uplift
        RX LLC, 625 BR 364, 376 (Bankr SD Tex).
             The Trustee argues that this claim relates back
        because it’s “based on the same agreement and facts as the
        successor-in-interest claim.” Dkt 175 at 16. The Trustee
        also contends that it relied on public and private
        representations by Stone Pigman that it merged with
        Cogan & Partners. Stone Pigman therefore “knew or
        should have known that the action would have been
        brought against it, but for a mistake concerning the proper
        party’s identity.” Id at 17.
             To the contrary, the amended complaint doesn’t allege
        or identify the “course of conduct” in the original complaint
        from which the fraudulent-transfer claim in the amended
        complaint arose. Dkt 155 at ¶¶ 232–36. The original
        complaint instead implicated Stone Pigman through its
        successor and/or vicarious liability. A fraudulent-transfer
        claim involving Cogan & Partners and Stone Pigman is a



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        very different thing, which can’t be said to arise out of the
        same “overarching scheme” as the conduct from which the
        original claims arose. The alleged transfer from Cogan &
        Partners to Stone Pigman instead is a “distinct transaction
        or occurrence.” See In re Uplift RX, 625 BR at 377 (also
        noting that original complaint must allege that additional
        transfers were part of course of conduct alleged in original
        complaint).
             As such, the claim doesn’t relate back, is thus barred
        by limitations, and will be dismissed.
                         iv. Conclusion
             Each of the various theories by which the Trustee
        would assert liability against Stone Pigman will be
        dismissed. The Trustee has already had an opportunity to
        amend regarding its claims in this regard. See Dkts 94, 152
        & 155. Further amendment would be futile in light of prior
        pleadings and the applicable law. Such dismissal will thus
        be with prejudice.
                    e. Unjust enrichment
             The Trustee asserts a claim against Helena Energy for
        unjust enrichment. Dkt 155 at ¶¶ 202–07. It contends that
        Helena Energy shared executives, office staff, and office
        space with Furie, while allegedly receiving gas from Furie,
        first through the now-defunct Rieck-controlled Aurora Gas
        LLC in 2016, and then directly in 2017. Id at ¶¶ 94–95.
        Helena Energy seeks dismissal, contending that the law of
        Alaska governs this dispute, such law only recognizes a
        claim for quasi-contract, and the Trustee failed to plead
        such claim. It argues further that Texas law—even if it
        applies—doesn’t recognize unjust enrichment as an
        independent cause of action. Id at 11–18.
             Extended choice-of-law analysis isn’t necessary at this
        juncture because the pertinent law from both jurisdictions
        isn’t at meaningful variance.
             The Supreme Court of Alaska holds under Alaska law
        that “unjust enrichment is not in and of itself a theory of
        recovery. Rather, it is a prerequisite for the enforcement of
        the doctrine of restitution.” Alaska Sales and Service Inc v




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        Millet, 735 P2d 743, 746 (Alaska 1987). “Restitution, in
        turn, is not a cause of action’ but rather a remedy for
        various causes of action,” such as quasi-contract. Ibid.
              The Supreme Court of Texas hasn’t addressed this
        issue directly under Texas law. But some Texas appellate
        courts have taken the view that unjust enrichment isn’t an
        independent cause of action. See Foley v Daniel, 346 SW3d
        687, 690 (Tex App 2009); RM Dudley Construction Co v
        Dawson, 258 SW3d 694, 703 (Tex App 2008). The Fifth
        Circuit has proceeded upon the same understanding. For
        example, in Sullivan v Leor Energy LLC, it noted, “Unjust
        enrichment characterizes the result of a failure to make
        restitution of benefits either wrongfully or passively
        received under circumstances that give rise to an implied
        or quasi-contractual obligation to pay.” 600 F3d 542, 550
        (5th Cir 2010); see also Midwestern Cattle Marketing LLC
        v Legend Bank NA, 999 F3d 970, 972 (5th Cir 2021)
        (rejecting unjust enrichment as distinct cause of action in
        Texas). Regardless, and without question, Texas courts
        recognize quantum meruit as a cause of action, with such
        claims arising “when non-payment for services rendered
        would result in an unjust enrichment to the party benefited
        by the work.” Sullivan, 600 F3d at 550; see also Vortt
        Exploration Co, Inc v Chevron USA, Inc, 787 SW2d 942,
        944 (Tex 1990).
              This harmony in theoretical approach leads to similar
        accord as to the necessary elements of pleading. The
        elements of a quasi-contract claim under Alaska law are
        (i) a benefit conferred upon the defendant by the plaintiff,
        (ii) appreciation by the defendant of such benefit, and
        (iii) acceptance and retention by the defendant of such
        benefit under such circumstances that it would be
        inequitable for him to retain it without paying the value
        thereof. Ware v Ware, 161 P3d 1188, 1197 (Alaska 2007).
        The elements of a claim in quantum meruit under Texas
        law are (i) valuable services and/or materials furnished by
        plaintiff, (ii) to the party sought to be charged, (iii) which
        were accepted by the party sought to be charged, (iv) under
        such circumstances as reasonably notified the receipt that




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        the plaintiff expected to be paid by the recipient. Heldenfels
        Brothers Inc v Corpus Christi, 832 SW2d 39, 41 (Tex 1992).
            Properly understood, the Trustee sufficiently pleads a
        claim against Helena Energy under the law of either
        Alaska or Texas. Specifically, it contends that Helena
        Energy received a benefit (or valuable services and
        materials) when it utilized Furie personnel and office
        space. Dkt 155 at ¶ 94. Helena Energy appreciated and
        accepted this benefit. And it would be inequitable for
        Helena Energy to keep that benefit without paying Furie.
        Likewise, the Trustee contends that Helena Energy
        received a benefit (or valuable materials) when it took
        natural gas from Furie. Id at ¶ 95. Helena Energy
        appreciated and accepted this benefit. And it would be
        inequitable for Helena Energy to keep that benefit without
        paying Furie.
            Helena Energy protests that the Trustee failed to state
        how much gas Helena Energy allegedly received and to
        what extent it paid Furie for that gas. Dkt 46 at 14. It also
        suggests that “there are insufficient facts pleaded to set
        forth what the ultimate amount of restitution should be”
        because the Trustee only seeks “a dollar for dollar benefit.”
        Id at 14–15. This misapprehends the pleading standard. A
        complaint need only contain “enough facts to state a claim
        to relief that is plausible on its face.” Twombly, 550 US
        at 570. The complaint states that Helena Energy didn’t
        compensate Furie for use of Furie’s office space and staff,
        and that Helena Energy didn’t pay for gas it received from
        Furie. Dkt 155 at ¶ 94–95. This is sufficient to proceed,
        leaving questions as to exact amounts for discovery.
            Helena Energy also argues that there should have been
        a contract because the sale of natural gas removed from
        realty is a sale of goods under the UCC—meaning that the
        Trustee should have brought a claim for breach of that
        contract. Dkt 46 at 14. To the contrary, the complaint
        states that Furie and Helena Energy executives drafted a
        gas sales agreement; Furie creditors refused to approve it;
        and Furie nonetheless delivered gas to Helena Energy




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        without payment. Dkt 155 at ¶ 95. With no contract being
        at issue, argument on such basis simply isn’t pertinent.
             Helena Energy last argues that the Trustee can’t
        recover for gas sales from Furie to Helena Energy via
        Aurora Gas because “the entity that was supposed to pay”
        Furie was Aurora Gas and not Helena Energy. Dkt 46
        at 14. The Trustee doesn’t address this issue in its
        response. Dkt 86. Such failure to defend a claim in response
        to a motion to dismiss constitutes abandonment of the
        claim. See Black v North Panola School District, 461 F3d
        584, n 1 (5th Cir 2006) (failure by plaintiff to defend); see
        also Lefkowitz v Administrators of Tulane Educational
        Fund, 2022 WL 376148 *3 (ED La 2022) (collecting cases).
        Opposition to dismissal in this respect is thus waived.
             The motion to dismiss by Helena Energy will be
        granted to the extent that the Trustee seeks to recover
        against Helena Energy for gas sold through Aurora Gas. It
        will otherwise be denied. Dkt 46.
                    f. Exemplary damages and attorney fees
             The Trustee purports to plead claims for exemplary
        damages and attorney fees. Dkt 155 at ¶¶ 214–16, 217–18.
        Reed Smith correctly notes that neither is a stand-alone
        cause of action. Dkt 63 at 18–19; see also Dkt 191 at 48–49.
        Instead, exemplary damages and attorney fees are
        remedies that may spring from an otherwise established
        cause of action. The Trustee essentially concedes their
        dismissal as claims, while preserving their potential as
        remedies. For example, see Dkt 118 at 27.
             The stand-alone claims for exemplary damages and
        attorney fees will be dismissed. But the Trustee may seek
        either or both as a remedy where permitted by law.
                4. Conclusion
             The motions to dismiss by Helena Energy, Bruce Ganer
        and Sierra Pine Resources International Inc, Reed Smith
        LLP, David Hyrck, Theodor van Stephoudt, Michael A.
        Nunes, and Stone Pigman Walther Wittmann LLC are
        GRANTED IN PART and DENIED IN PART. Dkts 46, 57, 63, 64,
        65, 75 & 169.




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             The motion for summary judgment by Thomas Hord is
        GRANTED IN PART and DENIED IN PART. Dkt 157.
             Claims under §§ 544 and 548 of Title 11 of the United
        States Code for fraudulent transfer are DISMISSED WITH
        PREJUDICE to the extent that they arise out of the Furie
        Operating bankruptcy proceeding. All such claims are
        DISMISSED WITHOUT PREJUDICE to the extent that they arise
        out of the Cornucopia Oil & Gas bankruptcy proceedings.
             Claims for breach of fiduciary duty against Rieck,
        Hord, Nunes, van Stephoudt, Degenhardt, Elder, and
        Ganer in their capacity as Furie officers are DISMISSED
        WITH PREJUDICE. To the extent such claims may arise out
        of any fiduciary duties owed as Cornucopia officers, they
        are DISMISSED WITHOUT PREJUDICE. Related claims for
        aiding and abetting breach of fiduciary duty (as well as for
        civil conspiracy in that regard) are resolved in like fashion.
             The claim for breach of fiduciary duty against Stone
        Pigman is DISMISSED WITH PREJUDICE.
             Claims for breach of fiduciary duty against Reed
        Smith, Hryck, and Nunes in their capacities as attorneys
        will proceed.
             The claim for unjust enrichment against Helena
        Energy is DISMISSED WITH PREJUDICE to the extent that it
        seeks recovery for gas sold through Aurora Gas but will
        otherwise proceed.
             The claims for exemplary damages and attorney fees
        are DISMISSED to the extent they are pleaded as stand-alone
        claims, but such will be allowed as remedies where
        permitted by law.
             As to claims dismissed without prejudice above, the
        Trustee may seek leave to replead within 45 days, if
        desired. Observe the conference requirement imposed by
        Section 17 of this Court’s procedures before bringing any
        such motion.




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            SO ORDERED.


            Signed on March 30, 2023, at Houston, Texas.



                          __________________________
                          Hon. Charles Eskridge
                          United States District Judge




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